Case 5:18-cv-02394-WDK-SP Document 10 Filed 02/08/19 Page 1 of 4 Page |D #:23

William t. Goldsmith,$tephen R. Goldsmith.Michaei L. Goldsr‘ith.

 

 

 

 

 

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16933 PARTHENtA STREET SUlTE 110

NORTHRIDGE, CA 91343

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UN|TED STATES DiSTRiC'i` CDURT
§EHTRAL DISTRICT OF CAL|FORN|A
m§ mm;
l.l.S.A. remain 5:18-cv-02394~ka-SP
v. R C,¢rree`l`ec[
, P oor»' or service
l-"-'-'A" W~RT'"EZ °'»"M"“=> summons mo coMPLAiNT
tunuparnepmotolurvlcoforommodpcnyumd|

 

 

i. At the time of service l was at least 18 years oiage and not a party to this action andi served copies of the (spocin/ documents}‘

a. summons m first amended complaint g third party complaint
complaint second amended complaint l:] counter claim
alias summons third amended complaint ij cross claim

other {specr‘iy): EXHiBiT 1;CERT|F|CATION RE ll~i'i’ERESTED PARTIES;LSES-USPS PRDOi-' OF MAIL DELlVERY
2. Person served:

a. M Detendant foame:) LlLi.lAN MARTINEZ
b. m Other (specify name and title or relationship to the partyrbusiness named):

c, ij Address where the papers were served: 3815 MAXON LN
Chino, CA 91710
3. Manner of Senriee in compliance with (ine appropriate box must be checked):

a. iii Federal notes crown measure

v. [] california code crown Pmcedure
4. l served the person named in item 2:

a. m By Personai Servioe. By personally delivering oopies. lf the person is a minor. by leaving copies with a parent, guardian
conservator or similar fiduciary andre the minor if ai least twelve (12} years of age

1. El Papm were served an many at ramey

b. Er By Subatituted Servioe. By leaving oopies: CYNTHlA 005 - CO»OCCUPANT
Age: 33 Raoo: HiSPANlC Sex: Femaie l-leight: 5‘5" Weight: 220 Hair: BLACK

1. ij (home) at the dwelling house. usual piece of abode, or usual place of business of the person served in the presence of a
competent member of the household. at least 18 years of age. who was informed of the general nature of the papers.

2. L_.i (business) or a person apparently in charge of the oflioe, or piece of business, at least 18 years of age. who was informed
of the general nature of the papers.

3. Er Papore were served on (daie): 1112012018 at (tr`me): 5:09 Pllli

4. m by mailing (by first-class mail, postage prepaid) copies to the person served in item 2(b) at the place where the copies were
left in item 2(¢).

5. Er papers were mailed on Nov 21, 2018 » DECLARATiDN OF MAiLiNG A'iTACHED
6. m due diligence l made al least three (3) attempts to personally serve the defendant

c. cl Maii and acknowledgment of service By mailing (oy firsr~class mail or airmail, postage prepaid) copies to the person served.
with two (2) copies of the form of Waiver of Servioe of Sumrnons and Complaint and a return envelope postage prepaid
addressed to the sender. (Atlach completed Waiver of Servloe of summons and Compiaint).

 

Cv.t roa/mt PROOF OF SERVICE ~ S\.|MMONS AND COMPLA|NT Wmi=$l:£;
c 1 21

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d. m Service on domestic corporation, unincorporated association (includlng partnership), or public entity. (F.R.Civ.P.
4{|\)) (C.C.P. 415.10} By delivering during usual business hours, a copy of tire simmons and complaint to an ottlcer. a
managing or general agenl, or lo any other agent authorized by appointment or by law lo receive service of process and. ll the
agent is one authorized by statute and the statute co raqulroo by also mailing, by Rsl~class mall. postage prcpald. a copy to
the defendant

e. m Subctllutod service on dramatic oorporatlon. unincorporated association (tncluding partnershipl. or public ontlty.
(C.C.P, 415.20 only) By barring during usual business hours. a copy of the summons and complaint in the oillce of the person
carved with the person who apparently was In charge and lhereailer by mailing(oy first-class mar'l, postage prepaid) copies of
the persons al the place where the copies were lott in lull compliance with C.C.P. 415.20 Sul:lstilule service upon the
Catlfomia Secrelary al Siale requires a court order {Attaclr a copy of the order to this Proot of Servlce.)

l. a S¢rvice on a foreign corporation in any manner prescribed for individuals by FRCP 410

g. a Ccrlilied or registered mail sorvlco. By mailing to an address outside Calliornla {by first-class mail postage prepaid
requiring a return mcelpllcoplaa to tire person served {Atvch signed return receipt or other evidence of actual receipt
by the person served).

n. l:] Other ispcclly code section and type of service);
5. Servlce upon tile limited States, and its Agencies, Corporaiions or OBicors.

a m by delivering a copy of the summons and complaint lo the clerical employee designated by the U,S. Allomey authorized to
accept service. pursuant to the procedures tar the Oll’rce ot the U.S. Allomey for acceptance of service. or by sending a copy ot
the summons and complaint by registered or certified mall addressed to the civil procech clerk al lite U.S. Attomcys Cll‘rce.

liarne ot person served:
Tltle of person scruod:
vote and time ot service: (dale): at (limo).'

b. m By sending a copy ct the summons and complaint by registered or certified mail to the Altomey Ganorat cl the Uniied Slales
at Washlngton. D.C, tillman signed return receipt or other evidence of actual receipt by the pelton somd}.

o m By sending a copy of the summons and complaint by registered or certimd mall lo lho ollicer, agency or corporatior(Attach
signed return rocclpt or other evidence of actual receipth the person served).

6. Al the lime ot service t was al least 18 years ct age and not a party to this action
7. Person serving (name. address and telephone number}:

- \ MATTHEW PQLAN a. Foc for sorvicc: $ 95.50
1- Diroct l.ogal Support, inc. . . `
@ 1541 wher own anne 550 b. l:l Nol a registered Ca§lomra process sewer
l.os Angeles, GA 90017 c. m Exempl imm registration under B&P 22350(o)
(213) 483~4900 d. L?_r Reglslered Calitornla process server
LA CDURW Reg: 201526°036 Reg{sw(°n g :3‘9

Counly: RIVERSIDE

8. m lam a Calilomic sheriff mami\al. or constable and i certify that tile ioregolng is true and correct

l declare under penalty of perjury that the foregoing ls true and correct

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Case 5:18-cv-02394-WDK-SP Document 10 Filed 02/08/19 Page 3 of 4 Page |D #:25

 

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William l. Go|dsmith,$tephen R. Goldsmith.Michaet L Goldsmith.

DOJ ACCOUNT CIO GOLDSMITH AND HULL A.P.C.

16933 PARTHEN|A STREET SU|TE 110

NORTHR|DGE. CA 91343 s m ripeness ropabnar)
memo~e~¢ (818) 990-6600 wave ¢oprmar-

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UN|TED STATES D|STR|CT COURT - CENTRAL DISTR!CT OF CAL\FORNIA

 

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DGfendan| ULUAH limwa

 

tamm ama was oEPr CA$E NUMBER
PRGD§‘?§§I§E_RWCE 5:18-¢v»02394-WDK-SP

 

 

 

 

 

 

 

1. l am over the age of 18 and noia party to this action l am employed in the county where the mailing occured.

2. t served copies ct the summons; complaint EXHlBlT 1;CERT$FICAT£ON RE lNTERESTED PARTIES;L€ZSS~USPS
PROOF OF MAiL DELJVERY;

3. By placing a true copy thereof enclosed in a sealed envelope with First Class postage thereon fully prepaid. in the United
States Maii at LCS ANGELES. California, addressed as foitows:

a. Date of Mailing: November 21 . 2018
b. Place of Mai|ing: i.OS ANGELES, CA
c. Addressed as foiiows: LiLLiAN MART¥NEZ

 

3815 MAXON LN
Chino. CA 91 710

l am readily familiar with the firrn's practice for coliection and processing of documents for mailing. Under that practice it

would be deposited within the Uni!ed States Pcrstai Service. on that same day. with postage thereon fully prepaid at LCS
ANGELES, Ca|ifomia in the ordinary course of business

Fee for Service: $ 95 . 50

Dire¢t _ Legi;ll Supp°rt , 1136 - l declare under penalty of perjury under the laws of the
5 . 1541 Wllsh=.re Blvd. , Sm te 550 'rhe united states that the foregoing information
i _}L_,}i L°S Ang€l€$ ¢ CA 9901 7 contained in the return of service and statement of

U' é§§?) 53§§;§900 _ . . service fees is true and correct a d that this declaration

 

   

 

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Central District of California

UN|TED STATES OF AMER|CA

 

Plaintijj”(s)
V.

LlLLlAN MART|NEZ

Civil Action No_ 5218-CV-2394 -WDK (SPX)

 

\./\J\/\_/VV\-/\./V\/\_/\./

Defendant(s)
SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name and address) LlLLlAN MARTINEZ

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) ~ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the F ederal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintist attorney,
whose name and address are:

Stephen R. Go|dsmith

GOLDSM|TH & HULL, A P.C.

16933 PARTHEN|A STREET, SU|TE 110
NORTHR|DGE, CA 91343

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK UF CO URT

Date: 11/14/2018 EW

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